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                    EXHIBIT 8
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                                 Preliminary Invalidity Chart for U.S. Patent No. D851,9901

Figures from U.S. Patent No. D851,990                                           Basis for Invalidity Under Section
                                                                                112
                                                                                Edge (1) is located inward of outermost
                                                                                surface (5) and outermost surface (5) is
                                                                                outward of the location defined by edge
                                                                                (1). The outermost surface (5) is not
                                                                                claimed in FIG. 1. This is inconsistent
                                                                                with FIG. 3 that appears to claim
                                                                                surface (5).

                                                                                Edge (3) is inward of surface (5) and
                                                                                edge (3) is claimed in FIG. 1. However,
                                                                                in FIG. 3, edge (3) is not claimed but
                                                                                surface (5) is claimed

                                                                                Edges (1) and (2) are connected in FIG.
                                                                                1 and not connected to edge (3). In
                                                                                FIG. 3, edge (2) is connected to (5).
                                                                                This is more clearly visible in the inset
                                                                                enlarged image surrounded in dashed
                                                                                blue lines.




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Figures from U.S. Patent No. D851,990                                  Basis for Invalidity Under Section
                                                                       112
                                                                       FIG. 4 shows edge (1) and (3)
                                                                       connected and claimed.

                                                                       This contradicts the view in FIG. 3,
                                                                       where edge (5) is claimed.

                                                                       Edge (3) does not connect to edge (1) as
                                                                       shown in FIG. 1 above.




                                                                       In FIG. 1, edge (1) is claimed and edge
                                                                       (5) is disclaimed.

                                                                       In FIG. 6, edge (1) is disclaimed and
                                                                       edge (5) is claimed.




                                           Figure 1 (enlarged)




                                                        2
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    Figures from U.S. Patent No. D851,990                                                      Basis for Invalidity Under Section
                                                                                               112
                                                                                               No solid line which would claim edge
                                                                                               (7) as claimed in FIG. 7 can be seen in
                                                                                               FIG. 1.

                                                                                               Outermost surface (5) is claimed in
                                                                                               FIG. 7 but not FIG. 1.




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 Way Interglobal has not completed its investigation of all facts relating to this case, discovery has not yet begun and the parties have
not made expert disclosures. The court has not construed any claim terms. Way Interglobal’s analysis contained herein is based on
information presently available and specifically known to Way Interglobal. Moreover, certain facts, documents and things now
known may be imperfectly understood and as such, may not be included in the chart at this time. Accordingly, Way Interglobal
reserves the right to revise, correct, supplement or clarify any of the information provided in the chart as this case proceeds and in
accordance with the Federal Rules of Civil Procedure, the Local Rules and Local Patent Rules of the United States District Court for
the Northern District of Indiana. Further, Way Interglobal does not represent that the depicted solid lines in the patent drawings
constitute the proper claim scope. The parties’ respective positions on the construction of various claim elements are not presently
known. Accordingly, Way Interglobal’s preliminary positions as to the invalidity of Furrion’s patent claims shall not be considered
to be an admission as to the meaning or proper interpretation of any element of any asserted claim. Way Interglobal reserves the
right to assert constructions of any claim term that differs in any respect from a construction that may be inferred from this preliminary
disclosure.




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